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EXHIBIT 27
Case 1:21-cv-10527-RGS Document 114-27 Filed 04/10/23

100: ARCHITECT « DAVID PISCUSKAS + JUERGEN RIEHM

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HOUSE AT 38 HIGHGATE

Design Team Coordination Meeting

Project Name:
Project Number:
Project Manager:

Meeting Date:
Meeting Number:

Location:

MEETING Agenda

House on Highgate
1604
Robert Lipson

July 12, 2018
36

Conference Call

Attendees:

Name

Bob Carlson
Robert Lipson
Julia Brooks
Michael Fierle
Fani Christina
John Kruse
Elvira Stridsberg
Andrew Childs
Garrett Newton
Ross Trethewey
Mike Wotus
William Ruffenach
Andrew Shalk
Todd Slocum
Distribution Only:

Name

David Piscuskas
Ben Rosenberg
Rich James

Bill Doyle

a2e2z eee ae e224 4 42 2

Next Meeting:

Company
Silica Pond
1100 Architect
1100 Architect
1100 Architect
1100 Architect
Sea-Dar
Sea-Dar
Sea-Dar

Reed Hilderbrand
TE2 Engineers
TE2 Engineers
1100 Architect
41100 Architect
Sea-Dar

Company

1100 Architect
Silman

Silman

Doyle Engineering

Thursday July 19th 9:00am

Issued By: Robert Lipson
Issued 7/12/2018

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Phone

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Note: The information contained herein represents our understanding of the
subject meeting. Discrepancies or corrections shall be brought to the attention of
the issuer within two business days or this report shall be considered accurate.
This report is published on the date issued noted.

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Page 2 of 5

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6/21/2018: 1100 to provide to RH a few items for RH/1100 = 6/28/2018 += Normal Open
coordination pending approval by Amy. RH to

prepare drawings showing added landscape scope

not shown in the original, approved LHR drawings

including additional lighting. RH to coordinate with

1100 regarding possible exterior lighting at the

Dining Pavilion. This will be a separate review than

the architectural one.

  
     

 

4.25.1 4/19/2018 - Change Order / Budget L
7/12/2018: SDC, 1100, and Bob C to participate in SDC /1100 7/17/2018 Normal Open
conference call on Tuesday 7/17 in the afternoon to /BobC.

review CO / Budget Log. SDC to send out call-in

number.

 

7/5/2018: SDC will update the risk log and include
with the construction requisitions. Information
regarding change orders will be compiled by 1100
and SDC for review with Bob C. Only John B. can
authorize change orders.

 

4.26.2 4/26/2018 - Costs Associated with F&R Windows

7/12/2018: F+R to mark up scope sheet in SDC/F+R 7/9/2018 = Normal Open
anticipation of signing a contract shortly. SDC will
be speaking with F+R on 7/13.

7/8/2018: For a meeting on Monday 7/9 F+R will provide
annotated costs with the intent of executing a contract
within a week or two.

7/5/2018: F+R wants their warranty to start when SDC/F+R 7/9/2018 = Normat Open
their work is complete, not when the house is

substantially complete. F+R will include cost for

extended warranty as an Add Alt to contract.

 

4.33.1 6/21/2018 - Concrete Subcontractor

7/12/2018: Based on the Foundation Package SDC SDC 7/19/2018 — Normal Open
has obtained competitive unit pricing for concrete
and hopes to recommend a vendor next week.

7/5/2018: Process is ongoing. SDC hopes to make a
recommendation next week. Depending on final bids
SDC may break up the package into individual
components: concrete, rebar, and formwork.

 

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HOUSE AT 38 HIGHGATE

Design Team Coordination Meeting

Project Name:
Project Number:
Project Manager:

Meeting Date:
Meeting Number:

MEETING MINUTES

House on Highgate
1604
Robert Lipson

July 19, 2018
37

Location: Conference Call
Attendees:
V Name Company
V Bob Carlson Silica Pond
V Robert Lipson 1100 Architect
v Julia Brooks 1100 Architect
v Michael Fierle 1100 Architect
Fani Christina 1100 Architect
V John Kruse Sea-Dar
V Elvira Stridsberg Sea-Dar
V Andrew Childs Sea-Dar
Vv Garrett Newton Reed Hilderbrand
V Ross Trethewey TE2 Engineers
V Mike Wotus TE2 Engineers
V William Ruffenach 1100 Architect
v Andrew Shalk 1100 Architect
v Ida Tam 1100 Architect
V Todd Slocum Sea-Dar
Distribution Only:
Name Company
David Piscuskas 1100 Architect
Ben Rosenberg Silman
Rich James Silman
Bill Doyle Doyle Engineering

Next Meeting:

Issued By: Robert Lipson
Issued 7/19/2018

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Phone

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781.850.2731

Thursday July 26th 9:00am

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subject meeting. Discrepancies or corrections shall be brought to the attention of
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6//2018: Bob provided documentation related to Mass
Code 780 CMR regarding required inspections? Also,
39 Highgate team provided code references. 1100 to
review. Also, 1100 to speak with ToW building inspector
to identify tests that may be required. SDC confirmed
Initial Construction Control] Document was included in
the Building Permit package.

 

2.32.1 6/7/2018 - LHR Landscape Items

6/21/2018: There is one landscape element - the RH/1100 = 6/28/2018 += Normal Open
coordination of the breaks in the Old Farm stone

wall - that will be included in the architectural LHR

review. RH provided dwgs.

6/21/2018 - 7/19/2018: 1100 provided to RH a few RH/1100 Ongoing Normal Open
items for coordination per approval by Amy. RH to

prepare drawings showing added landscape scope

not shown in the original, approved LHR drawings

including additional lighting. RH to coordinate with

1100 regarding possible exterior lighting at the

Dining Pavilion. This will be a separate review than

the architectural one.

 

 

      

 

 

04. Cost Management &
4.25.1 4/19/2018 - Change Order / Budget Log
7/19/2018: SDC / Bob C. / 1100 reviewed SDC's spc 7/26/2018 = Normal Open

Financial Summary, ECO worksheet, and Risk Log.
SDC is revising. DP reviewed preliminary ECO
sheet. Only significant objection is to the 40K extra
for F+R.

7/12/2018: SDC, 1100, and Bob C to participate in
conference call on Tuesday 7/17 in the afternoon to
review CO / Budget Log. SDC to send out call-in

7/5/2018: SDC will update the risk log and include with
the construction requisitions. Information regarding
change orders will be compiled by 1100 and SDC for
review with Bob C. Only John B. can authorize change
orders.

 

4.26.2 4/26/2018 - Costs Associated with F&R Windows

7/19/2018: 1100 strongly objects to the addition of | SDC/F+R 7/26/2018 Normal Open
40K by F+R which had previously been reduced

based on optimized payment plan. SDC to review
with F+R.

7/12/2018: F+R to mark up scope sheet in
anticipation of signing a contract shortly. SDC will
be speaking with F+R on 7/19.

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